                                                             Appendix A




                                                    Justin          Marlowe
                            University of Chicago              Harris School      of    Public    Policy

                                         1307       E 60th St Chicago            IL 60637

                jmar1oweuchicagoedu                          7737024396           www justinmarlowe net



   Research Interests

      Public    financial      management           emphasis on municipal securities                  infrastructure

      finance    state   and    local    fiscal     policy   cost    analysis governmental            accounting



   Academic Appointments

      University        of Chicago             Harris School of Public             Policy
      2020               Research       Professor

      2020               Associate       Director         Center for Municipal         Finance



      University        of Washington                Evans     School        of Public    Policy       Sz   Governance
      20142020            Endowed        Professor of Public           Finance and       Civic    Engagement
      20182020            Associate Dean            for   Academic     Programs
      20152018            Associate Dean            for   Executive    Education
      20142020            Professor of Public             Policy      Governance
      20122014            Associate Professor of Public                Affairs   with tenure
      20092012            Assistant      Professor of Public           Affairs




      University        of Kansas Department                        of Public    Administration

      20042009            Assistant      Professor



   Books

     5   Handbook         of    Public        Financial       Management          co edited            with    Sharon        Kioko
         Forthcoming           2021 London UK Edward Elgar

     4   Financial       Strategy       for    Public      Managers      with      Sharon        Kioko        2016           Rebus
         ProjectOpen Access

     3   Financial      Management             in   the   Public    Sector    co edited        with   David    Matkin        2013
         London         UK Sage Publications
     2   Management         Policies      in    Local     Government         Finance     6th    Edition     co edited      with   W
         Bartley       Hildreth    and        John        Bartle       2012            Washington             DC     International

         CityCounty         Management Association


     1   Capital   Budgeting        A     Guide for Local           Governments        2nd Edition with            Bill   Rivenbark

         and    Jack    Vogt      2009          Washington           DC International CityCounty                     Management

         Association




                                                           Justin Marlowe

Case 3:16-cv-02267              Document 363-28                     Filed 11/20/20              Page 1 of 38 PageID #: 15740
   Journal Articles

     30   The Great Reckoning                   Seattles      Budgeting        PostCOVID Municipal                            Finance Journal

           Forthcoming


     29   COVID19s              Impact on Washington                  States        Budget with Sharon                      Kioko         Municipal

          Finance       Journal        Forthcoming


     28   State     Budgeting          Since       the       Great     Recession              The     Case     of      Washington             State
          Municipal          Finance   Journal         40 no     2    2019          122143

     27   Estimating the Cost of Foundational                          Public       Health         Services    with Mamaril et                    al
          Health    Services      Research        53   2018          28032820


     26   Perceived           Need Versus Current Spending                      Gaps          in   Providing       a Foundational              Set of

          Public    Health       Services       and Capabilities  Communities with Bekemeier et
                                                                          in                                                                      al
          Journal       of   Public Health        Management and Practice 24 no 3 2018 271280


     25   Infrastructure           Asset        Reporting       and     Pricing          Uncertainty          in       the    Municipal         Bond
          Market         with      Rebecca         Bloch       and     Dean         Mead              Journal          of    Government           and

          Non Profit Accounting                 5 no     1   2016       5370

     24   Internal Control          Deficiencies         and Municipal              Bond Borrowing             Costs with Young Joo

          Park and David           Matkin          Public      Budgeting        6 Finance 26 no                    2   2016 126

     23   Assessing          Survey Based         Measures       of    Personnel         Red Tape with Anchoring                      Vignettes

          with Sanjay Pandey                     Review       of Public    Personnel Administration                          35 no        3   2015
          215237

     22   Socially           Responsible        Investing       and     Public           Pension       Fund        Performance                 Public

          Performance           and Management Review 38 no                          6    2014 123

     21   Fiscal Implications              of   City City Consolidations                      with Michael Gaffney                        State   and
          Local    Government Review 46 no 4                         2014       197204

     20   Accounting            Professionalism          and     Local    Government                 GAAP Adoption                    A    National

          Study      with        Saleha     Kumahwala            and      Dan       Neely             Journal          of    Public   Budgeting
          Accounting           and Financial Management 26 No                             2   2014       292312

     19   Municipal           Capital Budget           Reform Three Cases from the Great Recession                                            Journal

          of Public Budgeting           Accounting            and Financial Management 25 no 4 2013                                        693718

     18   Beyond        Five Percent            Credit Ratings and Optimal Municipal                          Slack Resources                  Public

          Budgeting          6 Finance 31 no             4   2011       116

     17   Municipal           Credit Default       Swaps        Implications         for Issuers         Municipal            Finance Journal

          32 no     2    2011       128

     16   The      Great       Recessions         Impact       on the     City of             Seattles   Budget               with Stephanie
          Leiser     Municipal         Finance         Journal    32 no         1   2011            143161




                                                              Justin    Marlowe                                                                     2

Case 3:16-cv-02267                Document 363-28                       Filed 11/20/20                   Page 2 of 38 PageID #: 15741
     15   Why Financial                Resource       Management Matters with Sharon                                Kioko          David Matkin
          Michael      Moody            Dan    Smith          and       Jerry     Zhao          Journal        of Public           Administration

          Research     and Theory 21 2011                     supplement             i113 i124


     14   Is There a GAAP Gap                        A Politico Economic              Model of Local            Government Accounting

          Policy Choice                with Deborah Carroll                      Journal   of Public          Budgeting             Accounting             6
          Financial Management                     21 no      4    2009          501523

     13   Iterations     in       the    Public       Financial         Management          Curriculum              Is   What        Practitioners

          Need Being         Taught           with Michael               Moody        Journal         of   Public    Affairs        Education             15
          no     1   2009         4758

     12   Penetrating             the     Performance               Predicament              Communication                 as        Mediator              or

          Moderator      of       Organizational         Cultures           Impact     on Organizational                 Performance                  with
          James Garnett            and Sanjay Pandey                       Public    Administration Review                 68 no            2    2008
          266281

     11   Much Ado About                  Nothing           The     Size        and Credit Quality Implications                      of   Municipal

          Other Post Employment                      Benefit       Obligations Public Budgeting                          6 Finance 27 no                    2


          2007        104131

     10   Volume        Liquidity and                Investor      Risk Perceptions             in    the Secondary            Market           Lessons

          from Katrina Rita and                     Wilma          Municipal        Finance          Journal    27 no          2    2006             137

      9 Gender         Dimensions             of    Public     Service          Motivation           with Leisha DeHartDavis                              and

          Sanjay      Pandey            Public Administration Review                   66 no           6   2006          873887

      8   Citizen      Engagement              in     Local       Budgeting          Does       Diversity       Pay       Dividends                   with
          Shannon      Portillo           Public       Performance               and Management Review                    30 no           2      2006
          179203

      7   Hofferbert         in   Transit          A Dynamic            Stages Model of the Urban                   Policy         Process            with
          Robert      J Eger III           Review        of Policy         Research     23 no          3   2006          413431

      6   Fiscal Slack            and Counter Cyclical                  Expenditure         Stabilization            A First          Look           at   the

          Local      Level        Public Budgeting            6 Finance 25 no               3    2005          4872

      5   Highway       Preventive Maintenance                      Implementation              Comparing           Challenges            Processes

          and Solutions           in   Three States with Deborah                      A Carroll Rita Cheng                         Robert       J Eger
          III    and Lara Grusczynski                   Transportation             Research          Record    issue     1877       2004             1016

      4   Part of the Solution or Cogs                       in   the  System The Origins and Consequences                                      of   Trust

          in    Public Administrators                  Public       Integrity 7 no 2 2004  525

      3 Managing             Local       Intergovernmental                 Revenues        The         Imperative         of       Diversification

          with Robert             J Eger       III    and Deborah               A Carroll International Journal                             of       Public

          Administration           26 no       13     2003          14951519


      2   Agricultural             Off Road           Fuel   Tax            A      Midwestern              Comparative              Analysis              and

          Assessment              with    Robert        J     Eger        III     Deborah       A Knudson                and        Amy Verbos
          Transportation           Research          Record       issue    1839     2003        7480


                                                                  Justin    Marlowe                                                                         3

Case 3:16-cv-02267                 Document 363-28                         Filed 11/20/20                   Page 3 of 38 PageID #: 15742
      1   Silent       Threats        Examining         the Importance              of   Non Enforcement                Auditing      Activity

          with Robert          J Eger III         and Deborah                 A Knudson           International           Journal      of   Public

          Administration          26 no       4   2003         369378



   Book Chapters

     11   Public        Budgeting             Financial        Management                and      Accountability                In    Routledge

          Handbook        of Public      Administration              4th      ed    forthcoming          2020       eds         Bart Hildreth

          Ev    Lindquist        and Gerald       Miller       New York             Routledge


     10   Pensions        and    Other Post Employment                        Benefits        with Thad            Calabrese           In Public

          Human        Resource        Management             Problems and Prospects                   6th    ed        2017         eds    Jerre11


          Coggburn and Richard Kearney                        New York              Pearson

      9   Local        Government        Financial        Condition            Before     and     After      the    Great       Recession        In

          Local    Government Budget                Stabilization              Explorations       and Evidence            2015         ed    Yilin

          Hou     New York            Springer


      8   Control        or     Collaboration                 Market          Pressures         Management               Reform        and     the

          Evolving       Role     of   the     Central        Budget          Office      with     Robert          K Nye              In    Public

          Administration          Reformation            Market          Demand from Public               Organizations              2014       ed
          Yogesh K Dwivedi Mahmud A Shareef Sanjay K Pandey and Vinod Kumar New
          York     Routledge           4058

      7   Fiscal Slack           Reserves         and Rainy Day                Funds       In    Handbook          of   Local     Government

          Fiscal   Health      2012         eds     Jonathan Justice                Helisse     Levine     and Eric Scorscone                New
          York     Taylor         Francis 321342


      6   Capital        Budgeting          and   Spending               In     The      Oxford    Handbook          of    State      and    Local

          Government Finance                 2012        eds       Robert       D Ebel and John E Petersen New York
          Oxford       University      Press 658681

      5   Public       Management             and Public           Financial        Management            A    Reintroduction                with
          Dan     Smith          In     The    Future         of   Public       Administration            Public        Management             and

          Public       Service    Around          the     World               The   Minnowbrook           Perspective            2010         eds

          Rosemary         OLeary            Soon       Hee        Kim        and     David      Van      Slyke         Washington            DC
          Georgetown          University       Press 221232

      4 From Company Town                     to Consolidated             Government            The Western             Style   Consolidation

          of   Butte    and     Silver   Bow County with Susan                           Kelm In Promises Made Promises
          Kept     The Promise           of    City County           Consolidation         2010 eds Suzanne Leland and
          Kurt Thurmaier              eds     Washington             DC Georgetown                University        Press 161177

      3   Financial        Management             Challenges             of   Other      Post Employment                Benefits      for    Local

          Government           Employees            In    Handbook             of   Employee        Benefits        and     Administration

          2008         eds       Jerre11      Coggburn             and    Christopher           Reddick       New         York        Taylor

          Francis 211234




                                                              Justin      Marlowe                                                                 4

Case 3:16-cv-02267                Document 363-28                         Filed 11/20/20               Page 4 of 38 PageID #: 15743
      2   Fund Balance Working Capital and Net Assets In Public Financial Management
          2006 ed Howard Frank New York Taylor     Francis 357381


      1   Working          Capital Management                   In Encyclopedia           of    Public Administration        and Public

          Policy 2nd        edition    2004          Jack      Rabin ed          New York          Marcel     Dekker



   Policy     Analysis

      9   Design     Framework for            a   Public       Cooperative        Bank     in    Washington     State       Washington
          State    Legislature       2020

      8   Evaluation        of the Benefits and Risks                 of a   State Chartered         Public   Cooperative       Bank for

          Washington         State    Washington              State    Office    of   Financial     Management        2018

      7   A Public Finance Analysis                     of    the Seattle Arena Proposals                  Valiant    Capital   2017

      6   Municipal         Bonds     and Infrastructure              Development           Past Present and Future White

          Paper    for   the      Government Finance                Officers     Association          International      CityCounty
          Management Association                   2015

      5   Benefits and Costs of City City Consolidations                                Tr Cities    WA       Regional Chamber of
          Commerce          2012

      4   Financial         Considerations              for   the     Proposed          SODO Arena            King     County     WA
          Council     Budget        and   Fiscal        Management Committee Arena Proposal Expert                               Review

          Committee         2012

      3   Can      local    government            leaders      stimulate        their   local    economies       In    Navigating      the

          Fiscal    Crisis        Tested Strategies           for Local       Leaders     ed      Gerald   J Miller and       James    H
          Svara      White         Paper      prepared          for     the     International        CityCounty          Management
          Association       2009

      2   Evaluation        of the   Kansas Department                  of   Commerce Kansas Inc                2007

      1   Evaluation        of    Transportation          Organization          Outsourcing         Decision making         Criteria   for

          Outsourcing          Opportunities        with Robert              J Eger III         Deborah    A Knudson         and Libby

          Ogard       Midwest Regional               University        Transportation            Consortium     2002


   Funded Research and                            Training             Activity

     12   International            Program         in    Public       Health       Leadership          Bill   and     Melinda     Gates

          Foundation         multiple grants from 20162020                        Principal       Investigator       $12547000


     11   Benefits and Costs of a Cooperative                         Public Bank for Washington               State        Washington
          State    Office    of   Financial       Management             20182019         Principal    Investigator         $367000


     10   Developing         and Evaluating             Strategies for a         Nationwide        Uniform Chart       of   Accounts   to

          Measure Public Health Investment                       and Spending             Robert     Wood Johnson Foundation
          20162018          Co Investigator             $995000


                                                               Justin Marlowe                                                           5

Case 3:16-cv-02267                 Document 363-28                      Filed 11/20/20               Page 5 of 38 PageID #: 15744
      9   Inter Organizational                     Collaboration         in   Local       Public     Health    Systems      Implications     for


          Costs Impact                 and Management Capacity Robert Wood                                    Johnson     Foundation     2014

          2016 Principal               Investigator         $350000


      8   Costs     and           Costdrivers            of    Providing            Foundational         Public        Health     Services    in


          Washington              State       and     Relationships            with        Structural     and        Community        Factors

          Robert    Wood Johnson                    Foundation           20132014           Co Investigator           $150000


      7   Benefits       and Costs            of   City City Consolidations                    UWWSU             William     D Ruckelshaus
          Center 2012 Co Principal                       Investigator          $25000

      6   Incentives              Processes            and        Structures          in     the     Municipal         Securities     Market
          University         of    Kansas          New      Faculty      General           Research     Fund         Principal    Investigator

          20062008           $7850

      5 Tax       Incentives            and     Economic           Growth       in    Kansas          with     David      Matkin        Kansas

          Department          of       Revenue        Co Investigator               20062007         $25000

      4   Evaluation              of    the     Kansas        Department             of     Commerce            Kansas       Inc      Principal

          Investigator            20062007           $153000


      3   Assessing          the       Public       Financial       Management               Curriculum          with      Michael    Moody
          University         of    Kansas          Center     for     Teaching         Excellence        Co Investigator            20062007
          $500


      2 The       Local       Fund        Balance            Explanations            and     Implications            American       Accounting

          Association             Government                and     Non Profit             Section     Doctoral        Dissertation     Grant

          Principal Investigator                   20032004         $1250

      1   Capital        Preventative               Maintenance               Midwest         Regional        University     Transportation

          Consortium Project                    Manager        20022003             $111664




    Other Publications


     16   Column        in   Government Finance Review                          every       other    month 2020 present


     15   Public    Money                 column       in    Governing magazine                 every    other    month     20132019

     14   Guide    to    Financial Literacy                  series      Governing          Magazine      and eRepublic            4 volumes
          20142017

     13   Determining             and Distributing            the     Cost     of    Shared     Public    Health       Services      Center for

          Sharing Public               Health      Services       2014

     12   The     Impact          of    Local      School     Property Tax Reductions                   on City and County            Revenue
          Decisions          A Natural          Experiment          in   Kansas with               Jocelyn Johnston          Michael    Hayes
          and David Matkin                    Public Finance             and Management 11 no                    2    2011

     11   Public         Financial            Engineering           and       its     Discontents             Public     Performance         and

          Management Review 32 no 4                           2009            626630


                                                                  Justin      Marlowe                                                          6

Case 3:16-cv-02267                     Document 363-28                        Filed 11/20/20              Page 6 of 38 PageID #: 15745
     10   New        Developments                in    State     and       Local       Finance         Edited        Journal    Symposium
          Municipal         Finance        Journal       29 no        3   2009

      9   Budgeting               Council Manager                     and        Debt Issues            In    Political   Encyclopedia      of

          States     and Regions Don Haider Markel                               ed Washington               DC CQ Press 2009

      8   Costs        of    Compliance               with     Generally             Accepted        Accounting       Principles        Public

          Management 89 no                   7   2007          1720

      7   The         New         Organizational               Economics              of    Public       Budgeting        and     Financial

          Management              with Deborah                 A Carroll Co Edited Symposium Journal                               of   Public

          Budgeting         Accounting            and Financial Management 18 no                             2    2006

      6   The    Budget       as       a   Communication                  Tool        International       CityCounty            Management
          Association        IQ Report 37 no 4 2005


      5 Managing Knowledge Workers in Local Government Insights from an Expert with
        John Nalbandian State 6 Local Government Review 37 no 4 2005 250255


      4   Politics         Economics         or the Public             Examining           the Determinants          of State   Government

          Performance             with Deborah               A Carroll Korean Journal                        of   Public Policy   19    2005
          117

      3   On the Importance                  of       Relationship Building in               Government            Outsourcing     Findings

          from the Transportation                     Industry        with Deborah               A   Carroll      and Robert    J Eger III
          Korean Journal              of   Public Policy         13 no           6   2003        127147

      2   Capital Preventative               Maintenance           with Deborah                  A Carroll Rita Cheng Robert J
          Eger       III    Lara       Grusczynski             Hani       Titi       and   Ali    Roohanirad           Midwest     Regional

          University        Transportation              Consortium          2003

      1 Review        of    The   Moral Foundations                of      Trust by Eric Uslaner                 Administrative Theory      6
          Praxis     26 no        1   2003            149153



   Works        in    Progress


      1   Anchoring and the Cost of Municipal                               Capital In progress


      2   Do Exchange Traded Funds Improve Municipal                                         Bond Market            Quality In     progress


      3   Structure         and Performance               in    Municipal            Debt Management Networks                   In progress




   Conference               Presentations                      since        2004


      Academy Health               2016 2015


      Academy of Management                       Government and Non Profit Division                               2010 2008 2004



                                                                Justin Marlowe                                                                7

Case 3:16-cv-02267                    Document 363-28                       Filed 11/20/20                Page 7 of 38 PageID #: 15746
      American      Accounting         Association                 2012 2011

      American Accounting              Association             Government and Non Profit Section                       2017 2015 2014

         2011 2010 2009 2007 2006

      American      Political    Science       Association                 2014 invited


      American      Public     Health       Association              2016 2015


      American      Society     for    Public Administration                      2018 2017 2016 2012 2008 2007

      Association     for    Budgeting        and Financial                 Management           every   year 20042019


      Association     for    Public     Policy Analysis               and Management                20142018      2011 2010 2004


      Brookings     Municipal         Finance        Conference                 2020 2017 2015 2014 2013 2012


      International       Research         Society       for   Public        Management           2016 invited         2015


      National     Association        of   School        of    Public       Affairs       Administration        2018


      Public    Health      Services         Systems Research                     Keeneland          Conference        2015


      Public    Management Research Association                                 biennial       2015 2013 2009 2007

      Western      Social    Science Association                    Public       Finance and        Budgeting    Section       2020 2017

         2015 20052011




    Invited      Academic              Talks             and Seminars


      University     of   Nebraska     Omaha February 2019

      Central    University      of    Finance       and Economics                    Beijing    PRC June 2017
      Federal Reserve         Bank     of    Cleveland             April 2015


      University     of   Chicago       Municipal             CFO Forum November 2014

      American      University         School       of   Public Affairs April 2014



      University    of    Kentucky         Martin School              of    Public Policy and Administration                  October 2013


      Texas    AM         University        Political         Science       Department September 2013


      Indiana    University      School        of    Public         and Environmental             Affairs April 2013


      Arizona     State     University        School          of   Public       Affairs   November 2012


      Seoul National        University         Graduate              School      of   Public   Administration      September 2012


      Financial     Management Association Applied                               Finance       Conference   June 2012


      University     of   Washington           Evans School                of   Public    Affairs    October    2011



                                                                   Justin    Marlowe                                                     8

Case 3:16-cv-02267              Document 363-28                             Filed 11/20/20               Page 8 of 38 PageID #: 15747
      Trans Atlantic       Dialogue on Strategic              Management             in    Public       Organizations       June 2011


      Rutgers University Newark               School     of    Public       Policy    and Administration                 April 2010


      Louisiana    State    University        Ourso College           of   Business            December     2008



      University   of   Kentucky      Public     Finance        Symposium May 2006



    Other Professional Presentations                                   since          2008


      2020   Liman Center Colloquium Yale                         Law        School            GoverningeRepublic              webinars

             financeHR           integration        digital       technology              and        performance      auditing      ERP
             implementation

      2019   Applied       Research      in   Public     Finance           Conference           Chicago          Washington        Global

             Health        Alliance      Seattle        Bill     and        Melinda            Gates      Foundation         Governing
             Summit on Financial Leadership                     NYC GoverningeRepublic webinar on                                  citizen


             engagement        technologies        GoverningeRepublic                          webinar on financial         technology
             American Society            for Tropical     Medicine and Hygiene                       Washington          DC National
             Association       of   Latino     Elected    and Appointed                   Officials     Phoenix       AZ
      2018   Government          Accountability           Office           Seattle         Connects          series      Rainier     Club

             Seattle         Lorman      Educational           Services      webinar

      2017   Brookings        Municipal        Finance         Webinar          Governing               Summit on        Infrastructure

             Finance and Public Private                Partnerships           Marina Del              Rey   CA Applied Research
             in    Public    Finance       Conference           Bloomington                    IN GASB          Users      Forum     San
             Francisco


      2016   Governing         Roundtable          on     Integrated            Stormwater                Management         Strategies

             Richmond           VA        EvansCascade                Nonprofit            Executive         Leadership        Institute

             Governing        Summit on Infrastructure                      Finance            and   Public Private       Partnerships

             Santa         Monica        CA Government                      Finance            Officers     Association        Toronto

             ON         American
                             Accounting                        Association            Doctoral            Student        pre conference

             NYC Washington CityCounty Management Association                                                    Governing      Summit

             on Financial Leadership  Washington DC Marguerite                                                   Casey      Foundation

             Symposium          on    Evidence     Based          Strategies              in    State     and    Local     Government

             Washington             DC
      2015   Osher         Lifelong      Learning        Institute             EvansCascade                  Nonprofit       Executive

             Leadership        Institute         Association           of     Local            Government        Auditors      National

             Conference         San       Diego        CA Association                          of    Washington       Cities    Elected

             Officials      Finance   Workshop           Duke         University           Energy       Initiative    Public    Finance

             Workshop         Governing Cost of Government                       Summit California Debt                     Investment

             Advisory       Commission Professional Development conference                                      San Francisco       CA
             Delegation       from China Ministry                of   Finance             Governing Summit on Stormwater

             Infrastructure Finance             Columbia SC




                                                         Justin Marlowe                                                                      9

Case 3:16-cv-02267            Document 363-28                     Filed 11/20/20                        Page 9 of 38 PageID #: 15748
   2014         Philanthropy          Northwest           Reflections      on      Philanthropy          Governing            Outlook

                Conference          EvansCascade            Nonprofit      Executive         Leadership    Workshop            Center

                for Sharing       Public     Health Services        webinar UW Leadership Forum for National
                Service     Executives        Governing         Cost of Government             Summit         Pacific    Northwest

                Intergovernmental            Audit Forum         Victoria       BC      Seattle   University       School      of   Law

   2013         Seattle     Northwest         Securities       Municipal        Finance       Conference         EvansCascade
                Nonprofit         Executive         Leadership       Workshop           Seattle   World        Affairs        Council

                Washington           State     Annual          Non Profit       Conference          APPAM           International

                Conference        Shanghai          China Leadership Forum for National                   Service Executives

                Pacific     Northwest        Intergovernmental            Audit       Forum     Global     Municipal          Leaders

                Conference        Marrakesh          Morocco         Governing         Cost of Government           Summit


   2012         EvansCascade            Nonprofit         Executive       Leadership         Workshop         Governing         Texas

                Leadership Forum


   2011         Pacific     Northwest        Intergovernmental            Audit       Forum     Washington         State      Annual

                Non Profit         Conference            Leadership       Forum       for    National    Service        Executives

                EvansCascade            Nonprofit          Executive      Leadership          Workshop          Port     of    Seattle


                Century Agenda          Roundtable


   2010         Humanities        WashingtonKing               County Library The Non Profit Center                      of   Greater

                SeattleTacoma                EvansCascade             Nonprofit        Executive        Leadership        Institute

                Leadership Forum             for   National     Service    Executives


   2009         KSGFOA            Winter      Conference           Alliance     for    Innovation       webinar           Columbia

                Capital     Management             Inc    Public    Finance Symposium


   2008         Internal      Revenue          Service          TaxExemptGovernmental                     Entities         Division

                Louisiana      State    University         Association        of   Governmental         Accountants           AGA
                Kansas      City     MO      Chapter        Kansas      Government           Finance     Officers       Association

                KSGFOA             Winter Conference




 Distinctions


  National      Academy        of   Public Administration               elected    2018


  Evans School        Deans Award             for    Teaching      Excellence         2018


  Editor in Chief Public Budgeting                       6 Finance      2017 present


  Distinguished           Teaching    Award Evans              School   Student       Organization       2012



  Honorary        Member            Kansas     University        City     Interns       Managers        and     Trainees       alumni
          association        2009


  Jesse    Burkhead         Award     for    best    article    published     in   Public     Budgeting       6 Finance        in   2007
          Association       for   Budgeting         and Financial       ManagementPublic                Financial       Productions
          Inc




                                                           Justin    Marlowe                                                          10

Case 3:16-cv-02267                   Document 363-28 Filed 11/20/20                                 Page 10 of 38 PageID #:
                                                   15749
  Award         of    Excellence               Public    Policy       Category          University     Economic       Development

         Association           2008


  Minnowbrook                III    Conference          Emerging Scholar           Invitee    2008



  Department           of   Public    Administration            Outstanding         Graduate Faculty Award University                 of

         Kansas       Center for Teaching               Excellence          2005


  Best    Papers       in   Ethics    Award Johnson                 Institute    for   Responsible    Leadership      University      of


         Pittsburgh Graduate                   School    of   Public    and International        Affairs    2005


  Mike     Curro        Best        Student        Paper       Award         Association      for    Budgeting       and    Financial

          Management               2003



  Michigan           Association          of    Governing        Boards        Outstanding       Graduating        Male      Northern

          Michigan          University         1999




 Media

  Quoted by andor research mentioned in Al Jezeera America                                          TV Arizona       Central Daily

  Arkansas       Democrat Gazette                 Austin American Statesman                   Bloomberg     News Boston Globe
  Clarin    Buenos             Aires           Debtwire        Deseret       UT        News     Detroit    News      BEFM         Radio

  Busan         South Korea               Education          Dive     Governing        Magazine      Kansas    City Star         Kansas

  City    Business           Journal           KCBS     Radio       San        Francisco      KIROTV         Seattle        KJRAM
  Sports    Radio Seattle                 KNKX          Radio Seattle          NPR Marketplace NPR Market Watch
  Michigan       NPR           Radio       New        York    Times      the    Olympian Puget        Sound    Business Journal

  The     North        NJ Record               Reuters        Route    50      Sammamish Review            Seattle   Times       Seattle


  MetPublicola               Snoqualmie               Valley    Star     Stateline       Tacoma      News Tribune          The   Street

  Voice    of    America            Wall       Street   Journal        WESA        Radio    Pittsburgh        PA     NPR WNYC
  Radio     Washington              Post Wenatchee              World       Yakima     Herald




 Education

    University              of Wisconsin           Milwaukee
    2004                     PhD Political Science                  and Government

    2001                     MA      Political        Science


    Northern Michigan University
    2001                     Master       of   Public    Administration

    1999                     BS Public Administration

    2013                     Certified         Government Financial             Manager       CGFM




                                                               Just in Marlowe                                                        11

Case 3:16-cv-02267                        Document 363-28 Filed 11/20/20                               Page 11 of 38 PageID #:
                                                        15750
 Other Professional Employment

    City of Marquette             MI
    19982001            Management Analyst


    Council of State Governments                     Washington         DC
    1998                Policy   Analyst



 Courses Taught


  University      of Chicago

  Public   Finance      and Budgeting       Evening      MPP

  University      of    Washington
  Financial    Management and Budgeting                  MPA
  Management and Public            Capital Markets        MPA
  Public Private       Partnerships       MPA
  MPA Capstone          Seminar

  Strategic    Financial    Management        I   Executive   MPA
  Executive     Economics      Executive      MPA

  University      of    Kansas

  Resource     Allocation   and Control       MPA
  Introduction     to   Quantitative      MethodsMPA
  Advanced      Quantitative      Methods     PhD

 Professional Service


  Technical      Advisory

  Government Finance           Officers    Association     Task   Force   on Rethinking    Local     Government

       Budgeting         2020 present

  Center for Digital Government              Senior Fellow 2020 present


  City of Seattle Working         Group on Performance Auditing 2020

  National     Academy of Public          Administration      Fiscal   Futures Working    Group      2020

  WA State      Governors      Council of Economic         Advisors    gubernatorial    appointee      20182020

  California    State   Auditor Local Government High Risk Advisory                 Team      20182020

  Urban    Institute    Tax Policy Center Technical           Working     Group on Unemployment        Insurance

       Trust    Fund Finance       20182020

  WA   State     Citizens        Commission        for   Performance      Measurement    on    Tax    Preferences

       gubernatorial        appointee       20162020

  Pew Charitable        Trusts   State    Borrowing Practices      Interactive   Tool Expert   Reviewer     2017
       2018




                                                    Justin Marlowe                                             12

Case 3:16-cv-02267               Document 363-28 Filed 11/20/20                      Page 12 of 38 PageID #:
                                               15751
  Governmental            Accounting         Standards        Board        Task      Force    on the     Government         Financial

          Reporting         Model 20152020
  National        Academies          of   Science      Institute      of   Medicine      Public        Health     Cost    Estimation

          Workgroup          20132014

  Municipal        Bond Information Services Inc development partner 20132015

  King County          WA       Council       Budget          Fiscal     Management Committee BasketballHockey
          Arena Proposal Expert               Review      Panel       2012

  Governmental          Accounting          Standards Board Task                Force on Fund Balance             Reporting 2006
          2008


  Expert      Witness          and Consulting

  Admitted expert witness Daubert Standard on government budgeting                                             finance    and   capital

          markets Federal District                 courts     state   courts      and SEC      civil    enforcement       actions    15

          cases   since     2014

  Occasional       consulting        for Boston Consulting                 Group Brattle Group Charles River Group
          Cornerstone Research               OnPoint Analytics               Public Policy Institute of California others

          2009 present


  Editorial        Boards

  Journal     of   Public Administration Research                     and Theory        January        2011     December     2014

  State    and Local        Government Review               January        2010      December      2012

  Journal     of Public Budgeting             Accounting           and Financial Management                   August 2008       present


  Association          Leadership

  Association         for    Budgeting         and      Financial        Management            Chair          elected     20182019
          Vice Chair        elected        and Conference           Program       Chair 20172018               Conference    Steering

          Committee          Seattle        Conference             20142016           Executive         Committee         20082010
          Burkhead          Award         Committee      2017            Nominating          Committee         2013       Conference

          Sponsorship         Chair         20112013           Taskforce        on    Curriculum        Standards        20112012
          Aaron Wildavsky             Award        Committee 2010               Mike Curro Best Student                 Paper Award
          Selection         Committee         2009        chair          2006        Kenneth       Howard        Award      Selection

          Committee         2005
  Brookings        Municipal       Finance Conference                Program Co Chair           20142015           Conference       Co
          Chair    2013
  Public Finance and Budgeting Section                        of   the Western       Social   Science Association           Co Chair
          20072008            Best    Conference        Manuscript         Selection    Committee         2009
  Association         for    Public       Policy     Analysis      and     Management           Conference        Program       Public

          Management Sub Committee 2017

  Public     Management Research                   Association        Finance        Committee 2019 present               Conference

          Program      Committee 2013

  Outside         Reviewer

  Tenure     and Promotion                26 cases    since   2013

  Program Reviewer              Brigham Young University Department                           of   Public      Management        2016




                                                            Justin    Marlowe                                                        13

Case 3:16-cv-02267                    Document 363-28 Filed 11/20/20                                    Page 13 of 38 PageID #:
                                                    15752
  Manuscript          Reviews

  Academy       of    Management             Annual         Meetings      Armed         Forces         6     Society         Asia       Pacific

  Management          Review        Congressional Quarterly Press                    Electronic        Hallway         teaching         cases
  Icelandic    Research         Fund        IGI     Global     International          Journal         of    Public         Administration

  International        Public       Management             Journal     Journal        of   Business          Research           Journal      of

  Governmental            6    Nonprofit      Accounting         Journal        of    Policy     Analysis             and    Management
  Journal      of    Public      Administration             Research      and        Theory         Journal           of    Public      Affairs

  Education          Journal        of    Public     and    Non Profit      Affairs        Journal           of       Public    Budgeting

  Accounting          6    Financial        Management            Journal       of    Urban       Affairs         Local        Government

  Studies      Management                Science      Municipal        Finance         Journal             National          Tax     Journal

  Organizational           Research        Methods      Palgrave       MacMillan           Policy          Studies         Journal      Public

  Administration              Public      Administration         Review        Public      Budgeting              6    Finance          Public

  Finance     Review          Public      Performance        and Management             Review         Regional            Studies      Review

  of Public    Personnel Administration                     Roxbury    Press     State     and Local           Government Review

  University    of Illinois      Press       Urban    Affairs    Review




 University Service


  University         of   Washington               Evans     School

  Founder      and        Faculty        Director     UWPiper          Jaffray       SNW       Public        Financial         Leadership

       Academy            2013 to 2015

  Faculty     Director        Public      Sector    Chief Finance      Officers       Forum 20102013
  Evans School Faculty Council                     Chair 20142015           Chair Elect             20132014 member 2010
       2012

  PhD Dissertation             Committee Stephanie               Leiser    chair placement                    Ford School          of   Public

       Policy University             of   Michigan

  MPA      Degree     Project       Advising         Luke    Baron     Brady Bekker              Emily Cook                 Steven      Danna
       Jarrad       Fjelstad        Myoung         Sun Lee      Forrest    Longman             Bill    Lucia Amanda                  Ondrick
       Adrian Rony             Jessica     Sandusky         Garrett Strain       Joshua        White        Julie      Wroblewski

  Service     on Standing         Committees            Faculty      Affairs    20192020              chair           20152016          chair
       20092010            Research        20092010           Executive     MPA        20102015
  Other Service           Junior Faculty           Search    Committees        2017 2016 2013 2012 2010


  University         of   Washington               Outside     the Evans         School

  UW Alumni Association Civic Engagement                             Workgroup          20172018

  Institute    for   Health      Metrics      and     Evaluation       Tobacco         Policy       Faculty       Search       Committee
       20172018

  UW PhD             Committee            Graduate      School     Representative               Richard        D Kim School                  of


       Pharmacy Edgar Luna Economics                              Amy     Li    College        of     Education             Luming      Shang
        Construction           Management             Sohaib     Gutub     Construction               Management
  UW    MastersProfessional                  Thesis    Committees           Matt       Landry          MS Real              Estate       Colin

        Morgan Cross Master                  of   Urban Planning

  Global    Social    Entrepreneurship              Competition        Faculty       Judge      20122013



                                                            Justin Marlowe                                                                   14

Case 3:16-cv-02267                     Document 363-28 Filed 11/20/20                                      Page 14 of 38 PageID #:
                                                     15753
  Outside   PhD       Dissertation       Committees         Cameron Anal            Boise State        School    of    Public

      Service        Rebecca     Bloch   Rutgers University Accounting                   Michael Hayes          American
      University      Public     AdministrationPublic       Finance Min Su Georgia St University
      Public AdministrationPublic                Finance Jiseul Kim Univ of Nebraska Omaha Public
      AdministrationPublic            Finance


  University     of   Kansas

  PhD dissertation         committees       Robert    Nye chair             placement        Deputy    Dean      US Army
      War     College      David    Matkin       placement           Askew    School    of    Public    Administration

      Florida State        Ed Stazyk       placement        School    of   Public   Affairs   American      University

  Other    Service    CareerOption         MPA     Admissions         Committee 20082009                Social    Sciences

      Division        General      Research        Fund      Review         Committee         20082009                Faculty

      coordinator         Department        of   Public     Administration          Monday       Research       Brownbag

      20062009            MPA      Final   Essay    Reader      20042008             Faculty    coordinator           Kansas

      CityCounty Management Association Spring Conference                              20072009




 Updated     July    24   2020




                                                   Justin    Marlowe                                                       15

Case 3:16-cv-02267               Document 363-28 Filed 11/20/20                              Page 15 of 38 PageID #:
                                               15754
                                                   Appendix        B

                                  Justin      Marlowe        PhD CGFM
                                Testifying          Experience         20152020




Fant et aL v City of Ferguson        415cv00253AGF                 ED       Missouri
July 2018 present



Expert report




Tulalip   Tribes   and Consolidated Borough of Quil Ceda Village v Smith et al 15cv00949
BJR WDWash
January 2016 June 2018



Expert report rebuttal   report    and deposition




Securities   and Exchange   Commission             investigation   C08209
July 2015 September 2017



Expert testimony to    SEC staff




Cavnar et al vs BounceBack         Inc et aL 14cv00235RMP                   EDWash
October 2015

Freitas et al vs   BounceBack      Inc   et   al    15cv3560RS         NDCal
November 2015


Expert report




 Case 3:16-cv-02267          Document 363-28 Filed 11/20/20                       Page 16 of 38 PageID #:
                                           15755
                                                                            Appendix               C

                                   Documents                    Relied        Upon by Dr Justin Marlowe

Document        Title Bates       Numbers                                                                                           Document Date


 Legal Pleadings


  Consolidated     Complaint for Violation              of the Federal     Securities   Laws                                      March 13 2017


  Court Memorandum Denying               Defendants         Motion    to   Dismiss                                                December    18 2017

  Court Denying      Plaintiffs   Motion      to   Certify Class                                                                  January   18 2019

  Court Order Granting Class Certification                                                                                        March 26 2019


  Court Memorandum Granting Plaintiffs                    Motion for Reconsideration           of the January   19 2018   Court   March 26 2019
 Order


 Plaintiffs     Objections    and Responses to Defendant              CoreCivic         Incs Second Set of Interrogatories to     May 1 2020
 Plaintiff



 Letter from Christopher          M Wood           to   Brian   T Glennon     and Milton S McGee re Deposition                    June   17 2020
  Citation Reference     in   Plaintiffs     Objections         and Responses     to   Defendant   Core Civic Incs Second

  Set of Interrogatories      to Plaintiff




 Depositions


 Deposition of Patrick Swindle               30b6 with Exhibits                                                                   January   92019

 Deposition of Michael         Nalley with Exhibits                                                                               January   15 2019

 Deposition of Keith         Hall with Exhibits                                                                                   October   24 2019

 Deposition of Bart Verhulst           with Exhibits                                                                              November 5 2019


 Deposition of Kim White           with Exhibits                                                                                  November 15 2019


 Deposition of John      Baxter with Exhibits                                                                                     December    19 2019

 Deposition of Natasha         Metcalf       with Exhibits                                                                        December    19 2019


 Deposition of Tony          Grande with Exhibits                                                                                 January   15 2020

 Deposition of Cameron Hopewell                 with Exhibits                                                                     January   17 2020

 Deposition of Emilee Beach with Exhibits                                                                                         February   11 2020

 Deposition of Patrick        Swindle with Exhibits                                                                               February 21      2020


 Deposition of Bill     Dalius with Exhibits                                                                                      February 26      2020


 Deposition of Damon Hininger                with Exhibits                                                                        March 3 2020


 Deposition of Jeb      Beasley with Exhibits                                                                                     March 10 2020


 Deposition of Todd          Mullenger       with Exhibits                                                                        March     13 2020

 Deposition of Douglas         Martz                                                                                              July 20   2020



  SEC Filings

  Corrections    Corporation of America             Form 10K for the fiscal year ended December                 31 2011   filed


 on February 24 2012


  Corrections    Corporation of America             Form 10K for the fiscal year ended December                 31 2012   filed


 on February 27 2013




                                                                            CONFIDENTIAL                                                            Page   1




         Case 3:16-cv-02267                             Document 363-28 Filed 11/20/20                              Page 17 of 38 PageID #:
                                                                      15756
Document        Title Bates        Numbers                                                                             Document Date

  Corrections    Corporation of America          Form 10K for the fiscal year ended December      31 2013   filed


 on February 27 2014


  Corrections    Corporation of America          Form 10K for the fiscal year ended December      31 2014   filed


 on February 25 2015


  Corrections    Corporation of America          Form 10K for the fiscal year ended December      31 2015   filed


 on February 25 2016


  Corrections    Corporation of America          Form 10K for the fiscal year ended December      31 2016   filed


 on February 23 2017


  CoreCivic     Inc Form 10K for the fiscal year ended December            31 2017   filed   on February 22 2018


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   March 31 2012    filed


 on May 72012


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended June   30 2012   filed


 on August 9 2012


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   September 30 2012
 filed   on November       82012

  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   March 31 2013    filed


 on May 92013


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended June   30 2013   filed


 on August 8 2013


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   September 30 2013
 filed   on November       7 2013

  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   March 31 2014    filed


 on May 82014


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended June   30 2014   filed


 on August 7 2014


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   September 30 2014
 filed   on November       5 2014

  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   March 31 2015    filed


 on May 72015


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended June   30 2015   filed


 on August 6 2015


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   September 30 2015
 filed   on November       5 2015

  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   March 31 2016    filed


 on May 52016


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended June   30 2016   filed


 on August 4 2016


  Corrections    Corporation of America          Form 10Q   for the quarterly period ended   September 30 2016
 filed   on November       3 2016


 Analyst    Reports

 Corrections      Industry       Behind the Bars     An In Depth View of the Corrections Industry Avondale            March 9 2009

 Partners   LLC

 Opportunities      for Growth       Reiterate   Buy SunTrust Robinson     Humphrey                                   May 23 2011

 Corrections      Future    Is   Solid Despite   FL Decision   SunTmst Robinson    Humphrey                           February   17 2012


                                                                  CONFIDENTIAL                                                       Page   2

          Case 3:16-cv-02267                      Document 363-28 Filed 11/20/20                      Page 18 of 38 PageID #:
                                                                15757
Document       Title Bates            Numbers                                                                                                      Document Date

 Positive     on Prison REITs            Were Dancin            to   the Jailhouse      Rock       Canaccord        Genuity                      July   13 2015

 Government          Replacement         Costs of Prisons         High       SunTrust         Robinson    Humphrey                               August 30 2018



 Research      Articles and          Other Publications


 Austin James and Garry Coventry Emerging Issues on Privatized Prisons                                              US Department          of

 Justice     Bureau    of Justice Assistance           February 2001


 Camp Camille G and George                   M Camp Private                Sector Involvement            in   Prison Services     and

 Operations      US Department               of Justice    National       Institute    of Corrections         February 1984


 Culp Richard         F The Rise and           Stall   of Prison Privatization               An Integration of Policy         Analysis

 Perspectives         Criminal Justice        Policy    Review        16 no     4    December 2005

 Friedmann Alex Apples to Fish Public and Private                                 Prison Cost      Comparisons Fordham Urban
 Law Journal 42 no             2   2014

  Gaes Gerald        G The          Current Status of Prison Privatization                  Research on American Prisons
  Selected    Works    August 2010


  Gaes Gerry     PhD Cost Performance                      Studies       Look   at   Prison Privatization            NIJ Journal no 259

  2008

 Hakim Simon and Erwin A Blackstone Prison Break                                     A New Approach            to   Public Cost   and

  Safety Independent            Policy   Report June 2014


 Hakim Simon and Erwin A Blackstone Cost Analysis of Public and Contractor Operated                                                              April   29 2013
 Prisons Working Paper


 Henrichson      Christian and Sarah           Galgano          A Guide      to     Calculating    Justice     System    Marginal       Costs
 Vera Institute of Justice           May 2013

 Kish Richard         J and Amy F Lipton Do                    Private    Prisons    Really Offer Savings            Compared     With

 Their Public    Counterparts             Institute    of Economic         Affairs 33         no 12013

 Lundahl Brad         W    et      al Prison Privatization            a Meta Analysis of Cost             and Quality of Confinement

 Indicators     Research on Social Work Practice 19 no 4 July 2009


 McDonald       Douglas        C and Kenneth Carlson Contracting                            for Imprisonment in the Federal             Prison   October     1 2005
  System      Cost    and Performance         of the Privately Operated Taft                  Correctional Institution          Abt

 Associates     Inc


 McDonald       Douglas and Carl Patten Jr Governments                                Management         of Private     Prisons Abt              September 15 2003
 Associates     Inc


 McDonald       Douglas        et   al Private Prisons           in the United States            An Assessment          of Current               July   16   1998

 Practice Abt Associates               Inc


 McGinnis       Kenneth Performance               Audit of the           Department         of Corrections      for the Legislative              December      31 2017
  Service    Bureau of the Oklahoma            Legislature            MGT of America Inc

 Moore Adrian T Private Prisons                    Quality Corrections               at a   Lower Cost Reason Public              Policy

 Institute    Policy Study         No 240 1999

 Mumford Megan            et   al The Economics                of Private    Prisons Brookings Institute                  The Hamilton

 Project    2016

 Nelson Julianne Competition in Corrections Comparing Public and Private                                            Sector   Operations
 The   CNA Corporation December 2005

 Perrone Dina and Travis              C Pratt Comparing the Quality of Confinement and Cost Effectiveness
 of Public Versus       Private      Prisons    What      We Know Why We Do not Know More and Where to Go
 From Here The          Prison Journal 83             no   3    September 2003


 Petrella    Christopher           An Open Letter       to     Corrections      Corporation of America American                    Civil


 Liberty     Union July 2014


                                                                                CONFIDENTIAL                                                                        Page   3

            Case 3:16-cv-02267                         Document 363-28 Filed 11/20/20                                             Page 19 of 38 PageID #:
                                                                     15758
Document          Title Bates           Numbers                                                                                                        Document Date

 Pratt Travis          C and    Jeff   Maahs Are Private            Prisons    More Cost Effective            Than Public Prisons A
 Meta Analysis of Evaluation Research Studies Crime                                   Delinquency       45    no   3   July 1999



  Governmental           Agencies       Report and Publications


 U S Department               of Justice      Summary of Budget             Authority       by Appropriation

 haps www justicegovsitesdefaultfilesjmdlegacy20140526bapodf


  Griffin      Greg    S and Leslie McGuire                Georgia Department             of Audits   and Accounts        Performance
 Audit    Division        Georgia       Department         of Corrections         Special   Examination Report           No 1812
 December         2018


 Lappin        Harley    G     et   al Evaluation          of the Taft Demonstration Project             Performance            of a Private         October   7 2005
  Sector Prison and the             BOP Federal Bureau of Prisons
 Office       of the Inspector       General      OIG FY 2015 Budget Request At A Glance
 httpswwwjusticegovsitesdefaultfilesjmdlegacy20131118oigpodf

 United       States   Department           of Justice    Office of Justice    Programs Examination of Privatization                      in   the

 Federal       Bureau of Prisons National Institute of Justice National Institute of Justice Solicitation

 April    1999


 United       States   Department           of Justice    Memorandum          for the Acting Director Federal              Bureau of                 August 18 2016
 Prisons      from Sally Yates Deputy               Attorney       General Subject Reducing              our Use of Private            Prisons


 United       States   Department           of Justice Office of the Inspector            General Review           of the Federal       Bureau       August 11 2016
 of Prisons Monitoring               of Contract         Prisons    Evaluation      and Inspections      Division        1606

 United       States   General      Accounting       Office Private Prisons               Cost Savings       and BOP s Statutory

 Authority       Need    to   Be Resolved           Report    to   the   Chairman Subcommittee               on Regulation Business

 Opportunities          and Energy Committee on Small Business House of Representatives                                    February 1991


 United       States   General      Accounting       Office     Public and Private           Prisons Studies       Comparing

 Operational Costs            andor Quality of Service Report                  to   the   Subcommittee        on Crime Committee on
 the Judiciary         House of Representatives                August 1996


 United       States    Government           Accountability        Office    Bureau of Prisons Methods                  for Cost    Estimation

 Largely Reflect         Best Practices but Quantifying                   Risks    Would Enhance Decision               Making Report           to


  Congressional         Committees           GAO 1094 November                2009


 United       States   Government           Accountability      Office      Cost of Prisons        Bureau of Prisons Needs Better
 Data    to   Assess Alternatives for Acquiring                 Low and Minimum Security                Facilities       GA0086
 October       2007     available      at   httpwwwgaogovassets270267839pdf

 United       States   Government           Accountability      Office     Federal Bureau        of Prisons        Methods       for                 July 27   2012

 Estimating Incarceration              and Community Corrections                  Costs   and Results    of the Elderly Offender

 Pilot Enclosure            I Briefing for Congressional                 Requesters       GAO 12807R

 United       States   Government           Accountability      Office     Performance         Auditing The Experiences                of the        September 25 2013
 United       States   Government           Accountability      Office       Statement      of J Christopher       Mihm Managing
 Director       Strategic      Issues       GAO 13868T

 United       States   Government           Accountability      Office      Prison Construction          Clear Communication of the

 Accuracy         of   Cost    Estimates        and Project Changes is Needed Report to the                               Subcommittee          on
 Commerce Justice Science                     and Related Agencies Committee on Appropriations                          US Senate GAO
 08 634 May 2008


 United       States   Government           Accountability      Office     Bureau     of Prisons      Growing          Inmate    Crowding
 Negatively Affects            Inmates Staff and Infrastructure                    A Report to Congressional             Requesters      GAO
  12   743 September           2012



 Investor       Presentations          Supplemental           Financial     Information        and Press Releases


 CoreCivic         Inc Company Conference Presentation                             SP Capital IQ                                                     December    11 2013

 CoreCivic         Inc FQ4 2012 Earnings                  Call Transcripts                                                                           February   14 2013
                                                                                  CONFIDENTIAL                                                                        Page 4
            Case 3:16-cv-02267                             Document 363-28 Filed 11/20/20                                         Page 20 of 38 PageID #:
                                                                         15759
Document        Title Bates   Numbers                                                                                  Document Date

  CoreCivic     Inc FQ1 2015 Earnings      Call Transcripts                                                          May 7 2015

  CoreCivic     Inc FQ1 2016 Earnings      Call Transcripts                                                          May 5 2016

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 December       31 2011

  Corrections    Corp of America at REITWeek        NAREITs     Investor   Forum                                     June    5 2014

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended

  September 30 2014

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
  September 30 2015

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 March 31 2016


  Corrections    Corp of America at REITWeek        NAREITs     Investor   Forum                                     June    8 2016

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 March 31 2013


  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 June   30 2013

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended

  September 30 2013

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 December       31 2013

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 March 31 2014


  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
 June   30 2014

  Corrections    Corporation of America    Supplemental Financial Information for the Quarter Ended
  September 30 2014


  CCA Americas        Leader Partnership   Corrections   Presentation   2013    Analyst Day Durable    Earnings      October    2 2013
 and Significant Growth Potential


  CCA Americas        Leader Partnership   Corrections   Third Quarter 2014 Investor     Pre sentation               November 2014


  CCA Americas        Leader Partnership   Corrections    Fourth Quarter 2014 Investor     P resentation             February 2015


  CCA Americas        Leader Partnership   Corrections    First Quarter 2015 Investor    Pre sentation               May 2015

  CCA Americas        Leader Partnership   Corrections    Second   Quarter 2015 Investor     Presentation            August 2015


 CCA Americas         Leader Partnership   Corrections    Third Quarter 2015 Investor     Presentation               November 2015


 CCA Americas         Leader Partnership   Corrections    Fourth Quarter 2015 Investor     P resentation             February 2016


 CCA Americas         Leader Partnership   Corrections    First Quarter 2016 Investor    Pre sentation               May 2016

 CoreCivic       Third Quarter 2016 Investor    Presentation



 CoreCivic       Fourth Quarter 2016 Investor    Presentation


 CoreCivic      Corrections   Corporation of America     Announces   Contract   Award with   Federal   Bureau   of   April   1 2009
 Prisons




                                                              CONFIDENTIAL                                                            Page   5

         Case 3:16-cv-02267                 Document 363-28 Filed 11/20/20                         Page 21 of 38 PageID #:
                                                          15760
Document       Title Bates           Numbers                                                                                                        Document Date


 Press Articles



 Boone Rebecca           Can Private         Prisons     Be Run Cheaper              Lewiston        Morning      Tribune         available   at   March 5 2012

 http lmtribune        comnorthwestcanprivateprisonsberuncheaperarticleba36fbc                                               1   281d5 d87
  8b71a0daff98e77b           html



 Brogdon Louis Critics Point Finger at CCA For Profit Prison Operator Taken                                             to   Task for              May 5 2014
  Campaign Giving Operations Times Free Press


 Oppel Jr Richard           A    Private Prisons         Found       to   Offer   Little   in Savings           New York Times available           May 18 2011
 at   httpswww        nytimescom20110519us19prisonshtml


 Volokh      Sasha     Dont End Federal              Private    Prisons The Washington                     Post available        at                August 19 2016
 httpswwwwashingtonpostcomnewsvolokhconspiracywp20160819dontendfederalprivate

 prisons




 Academic Sources Handbooks                         and Other Regulatory             Texts


 Executive    Office of the President           of the United States              Office of Management             and Budget Circular
 No A11 Preparation Submission and Execution of the Budget                                         June 2015

 Executive    Office of the President Office of Management                          and Budget Circular No                       A76               May 29 2003
  Revised

 Finkler     Steven    A    Robert      M   Purtell     Thad       D Calabrese and Daniel L Smith Financial
 Management         for Public      Health      and Not forProfit Organizations                      4th   ed   New York Pearson
 2013

  Government        Performance      and Results Act Public Law 10362                                                                              August 3 1993


 Horngren      Charles      T   Srikant     M Datar and Madav V Rajan                       Cost Accounting          A Managerial
 Emphasis      14th   ed    New York Prentice Hall 2012
 Khan Aman Cost and Optimization in Government 2nd ed                                      New York Routeledge

 Kotler Philip        and Kevin Lane Keller Marketing Management                              15th    ed     Global Harlow             Pearson

 Education    Limited 2016


 Levin Henry         M     Cost Effectiveness           A Primer Newbury             Park     CA Sage            1983

 National Association of State              Procurement        Officers     NASPO Benchmarking                    Workgroup
 Benchmarking          Cost     Savings     and Cost Avoidance Research Brief September 2007


 Pindyck     Robert     S and Daniel L Rubinfeld                   Microeconomics           7th   ed Upper Saddle River Pearson
 Education 2009


 Rivenbark      William       C The         Intrinsic   Value of Cost Accounting                  for Benchmark         Service       Efficiency
 in Cost   Accounting        in Government           Theory        and Applications        ed Zachary Mohr Routledge 2017
 The Economy          Act 31    US Code         §   15351536

 United    States    Government         Accountability         Office     GAO Cost Estimating and Assessment Guide
 Best Practices       for Developing        and Managing            Capital Program Costs Applied                   Research and

 Methods      GAO 093 SP March 2009

 United    States    Government         Accountability         Office Principles of Federal                  Appropriations           Law
 Office    of the General       Counsel       3 ed vol         3   Washington         DC September 2008
 United    States    Government         Accountability         Office Principles of Federal                  Appropriations           Law
 Annual Update         of the   3 ed        Office of the General          Counsel         GAO 153035P March 2015

 United    States    Government         Accountability         Office Principles of Federal                  Appropriations           Law
 Office    of the General       Counsel 4th ed          GAO 164635P March 2016

 Public Law         104208      104th   Congress September 30 1996 available                          at


 httpswwwtreasurygovresourcecentersanctionsDocumentsp1104208pclf


                                                                              CONFIDENTIAL                                                                         Page   6

           Case 3:16-cv-02267                           Document 363-28 Filed 11/20/20                                                Page 22 of 38 PageID #:
                                                                      15761
Document        Title Bates       Numbers                                                                                         Document Date


 Federal Prison System Documents


 Bureau    of   Justice    Statistics   Key    Statistics   Total Correctional   Population      19802016       available   at

 haps wwwbj s govindex cfmty=kfdetailiid=488


 Federal   Prison System       Buildings      and Facilities FY2011


 Federal   Prison System       Buildings      and Facilities FY2012


 Federal   Prison System       Bureau of Prisons      BOP FY 2013 Budget Request At A Glance
 Federal   Prison System       Bureau of Prisons      BOP FY 2014 Budget Request At A Glance
 Federal   Prison System       Bureau of Prisons      BOP FY 2017 Budget Request At A Glance
 Federal   Prison System       Bureau of Prisons      BOP FY 2018 Budget Request At A Glance
 Federal   Prison System Per Capita           Costs FY 20092017

 Federal   Bureau of Prisons Program Statement               Accounting    for Real Property Depreciation          and           February 24   2015

 BF Projects
 US Department            of Justice Federal    Bureau of Prisons Criminal Alien Requirement             VIII    RFP
 PCC0012        materials     April 29   2008 available      at


 https   betasamgovoppf900f4355784f3c545fed8ca4461d324view


 US Department            of Justice Federal    Prison System     FY 2011 Performance       Budget     Congressional

  Submission Salaries        and Expenses


 US Department            of Justice Federal    Prison System     FY 2012 Performance       Budget     Congressional

  Submission Salaries        and Expenses


 US Department            of Justice Federal    Prison System     FY 2012 Performance       Budget     Congressional

  Submission Buildings         and Facilities


 US Department            of Justice Federal    Prison System     FY 2013 Congressional       Budget    Buildings   and

 Facilities



 US Department            of Justice Federal    Prison System     FY 2013 Performance       Budget     Congressional

  Submission Salaries        and Expenses with Exhibits


 US Department            of Justice Federal    Prison System     FY 2014 Congressional       Budget    Buildings   and
 Facilities



 US Department            of Justice   FY 2014 Performance        Budget   Congressional    Submission Federal Prison

  System   Salaries   and Expenses


 US Department            of Justice   FY 2015 Performance        Budget   Congressional    Submission Federal Prison

  System Buildings and Facilities

 US Department            of Justice   FY 2015 Performance        Budget   Congressional    Submission Federal Prison

  System   Salaries   and Expenses


 US Department            of Justice   FY 2016 Performance        Budget   Congressional    Submission Federal Prison

  System Buildings and Facilities with Exhibits


 US Department            of Justice   FY 2016 Performance        Budget   Congressional    Submission Federal Prison

  System   Salaries   and Expenses with Exhibits


 US Department            of Justice   FY 2017 Performance        Budget   Congressional    Submission Federal Prison

  System Buildings and Facilities

 US Department            of Justice   FY 2018 Performance        Budget   Congressional    Submission Federal Prison

  System Buildings and Facilities

 United    States   Department     of Justice Fiscal Years        20142018    Strategic   Plan




                                                                     CONFIDENTIAL                                                               Page   7

           Case 3:16-cv-02267                     Document 363-28 Filed 11/20/20                                Page 23 of 38 PageID #:
                                                                15762
Document       Title Bates           Numbers                                                                                             Document Date


 Miscellaneous


  1901   NE Ohioxlsx
 BOP Mission available          at   httpswwwbopgovaboutagencyagencypillarsjsp                                   last accessed


 7292020

 U S House of Representatives                Making Appropriations             for Science   the   Departments        of State         November 72005

 Justice    and Commerce and Related Agencies                     for the Fiscal Year Ending       September 302006              and
 for Other Purposes          109th   Congress Report         109272


 Hearings     before   the   Committee on the Judiciary United States               Senate   One Hundred           Eleventh            September 292010
  Congress Second Session             Part   8   Serial   No J1114 available          at                                               and November 17

 haps    www     congress     gov111chrgshrg66817CHRG111shrg66817                              htm                                     2010


 National Association of State          Procurement         Officials      Who We Are available             at


 httpswwwnaspoorgabout                   last    accessed    7282020

 Federal    Bureau of Prisons Hearing Before the Subcommittee                       on Crime Terrorism Homeland                        September 192013

  Security and Investigations         of the     Committee on the Judiciary House of Representatives                     One
 Hundred      Thirteenth Congress First Session                   Serial   No 11350    available     at


 httpswwwgovinfogovcontentpkgCHRG113hhrg82847htmlCHRG113hhrg82847                                                        htm


  Statement    of Charles     E Samuels Jr Director               Federal    Bureau of Prisons     US Department of                    August 42015
 Justice before      the   Committee on Homeland Security                   and Governmental    Affairs United          States

  Senate   for a Hearing Entitled Oversight of the                Bureau of Prisons    First   Hand       Accounts    of Challenges

 Facing     the Federal Prison System available              at

 httpswwwbopgovresourcesnewspodfs080415writtenstatementpodf


 Statement of Charles E Samuels Jr Director of the Federal Bureau of Prisons Before the                                   US           April   102014
 House of Representatives Committee on Appropriations Subcommittee on Commerce Justice
 Science and Related Agencies Federal Bureau of Prisons FY 2015 Budget Request



 Bates     Stamped Documents

 BOP       0008068

 BOP02943926
  CORECIVIC0000001191
  CORECIVIC000042022
  CORECIVIC000047374
  CORECIVIC0000692870
  CORECIVIC000108283
  CORECIVIC0001329544
  CORECIVIC000192532
  CORECIVIC000222829
  CORECIVIC0002307547
  CORECIVIC000298284
  CORECIVIC000306061
  CORECIVIC0003082321
  CORECIVIC0003791962
  CORECIVIC000431725
  CORECIVIC0024796
  CORECIVIC00247967
  CORECIVIC00248023
  CORECIVIC00248045
  CORECIVIC002915362
  CORECIVIC00365335
  CORECIVIC003843542
  CORECIVIC00437867
  CORECIVIC00443745
  CORECIVIC00447956
  CORECIVIC00474302

                                                                            CONFIDENTIAL                                                                Page   8

           Case 3:16-cv-02267                       Document 363-28 Filed 11/20/20                                      Page 24 of 38 PageID #:
                                                                  15763
Document   Title Bates   Numbers                                                 Document Date

  C0RECIVIC00477201
  C0RECIVIC00502559
  C0RECIVIC00502723
  C0RECIVIC00502745
  CORECIVIC005027681
  CORECIVIC00567316
  C0RECIVIC005673747
  CORECIVIC00594123
  CORECIVIC008046271
  CORECIVIC0114064
  CORECIVIC01253049
  CORECIVIC018638296
  CORECIVIC02525716
  CORECIVIC03753138
  CORECIVIC0393678
  CORECIVIC039367980
  CORECIVIC0393682727
  CORECIVIC042616773
  CORECIVIC05027745
  CORECIVIC05077923
  CORECIVIC06602989
  CORECIVIC06603012
  CORECIVIC06603045
  C0RECIVIC06832223
  CORECIVIC07617289
  C0RECIVIC094476775
  C0RECIVIC094596895
  CORECIVIC0960355
  CORECIVIC096135761
  CORECIVIC099012930
  CORECIVIC09901869
  CORECIVIC099020001
  CORECIVIC09902212
  CORECIVIC099052630
  CORECIVIC099073940
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  CORECIVIC0994540
  C0RECIVIC09952434
  C0RECIVIC09969867
  CORECIVIC10013112
  CORECIVIC10014309
  CORECIVIC10028124
  CORECIVIC10085734
  CORECIVIC10087423
  CORECIVIC100903940
  CORECIVIC10090589
  CORECIVIC100921835
  CORECIVIC1011291
  CORECIVIC10481256
  CORECIVIC1048127
  CORECIVIC104813045
  CORECIVIC10481489
  CORECIVIC10485949
  CORECIVIC10516707
  CORECIVIC10520212
  CORECIVIC105709158
  CORECIVIC1057296301
  CORECIVIC10576756


                                             CONFIDENTIAL                                 Page   9

       Case 3:16-cv-02267          Document 363-28 Filed 11/20/20   Page 25 of 38 PageID #:
                                                 15764
Document   Title Bates   Numbers                                                 Document Date

  C0RECIVIC10579501
  C0RECIVIC10609467
  C0RECIVIC106207986
  CORECIVIC1062186207
  CORECIVIC1084355
  C0RECIVIC10843645
  CORECIVIC1084370
  C0RECIVIC10843745
  CORECIVIC1084378
  CORECIVIC1084381
  CORECIVIC1084392
  CORECIVIC10843978
  CORECIVIC1084401
  CORECIVIC1084409
  CORECIVIC1084413
  CORECIVIC1084426
  CORECIVIC10844301
  CORECIVIC1084440
  CORECIVIC10848667
  CORECIVIC1084873
  CORECIVIC1084878
  CORECIVIC1084882
  CORECIVIC1084892
  CORECIVIC10848938
  CORECIVIC10859445
  CORECIVIC108603057
  CORECIVIC10866649
  CORECIVIC10866706
  CORECIVIC10867038
  CORECIVIC1088594
  CORECIVIC1089461
  CORECIVIC11315114
  CORECIVIC11319289
  CORECIVIC11369212
  CORECIVIC1145995
  CORECIVIC11530367
  CORECIVIC11532356
  CORECIVIC11537734
  CORECIVIC11579889
  CORECIVIC1164202
  CORECIVIC11688501
  CORECIVIC11919801
  CORECIVIC119721920
  CORECIVIC120451920
  CORECIVIC122176768
  CORECIVIC1224206
  CORECIVIC12337023
  CORECIVIC1255135
  C0RECIVIC125575860
  CORECIVIC12722216
  C0RECIVIC127242830
  CORECIVIC127314954
  CORECIVIC12887412
  CORECIVIC 1327566593
  CORECIVIC13319678
  CORECIVIC 13376723




                                             CONFIDENTIAL                                Page 10
       Case 3:16-cv-02267          Document 363-28 Filed 11/20/20   Page 26 of 38 PageID #:
                                                 15765
Document           Title Bates     Numbers                                                                                           Document Date

   C0RECIVIC1353037046
   C0RECIVIC1353047056
   C0RECIVIC1353057066
   CORECIVIC1353067076
   CORECIVIC1353077086
   C0RECIVIC1353087096
   C0RECIVIC1353097106
   CORECIVIC1353107116
   CORECIVIC1353117126
   CORECIVIC1353127136
   CORECIVIC1353137146
   CORECIVIC1353147156
   CORECIVIC1353157166
   CORECIVIC1353167176
   CORECIVIC1353177186
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   CORECIVIC1353197206
   CORECIVIC1353207216
   CORECIVIC1353217226
   CORECIVIC1353227236
   CORECIVIC1353237246
   CORECIVIC1353247256
   CORECIVIC1353257266
   CORECIVIC1353267276
   CORECIVIC1353277286
   CORECIVIC1353287296
   CORECIVIC1353297306
   CORECIVIC1353307316
   CORECIVIC1353317326
   C0RECIVIC1353327336
   CORECIVIC1398031
   CORECIVIC147314950
   CORECIVIC1473396407
   CORECIVIC15013823
   CORECIVIC1848098102
   CORECIVIC18685914
   CORECIVIC1969691
   C0RECIVIC2037897902
   CORECIVIC203807692
   CORECIVIC20383856
   C0RECIVIC207955866
   CORECIVIC207956771
   CORECIVIC2155593
   CORECIVIC217381120




Note   Even   if   not included   in this list   I   also   considered   and relied upon any other document   cited   in my report   exhibits and

appendices




                                                                          CONFIDENTIAL                                                         Page   11

         Case 3:16-cv-02267                          Document 363-28 Filed 11/20/20                           Page 27 of 38 PageID #:
                                                                   15766
                                                                                                                    Exhibit




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                                                                                       of
                                                    Composition                                CoreCivic Revenue                                                    Customer




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                                                                                                                           Revenue         Earned From




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               Case 3:16-cv-02267
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Document 363-28 Filed 11/20/20
               Page 28 of 38 PageID #:
                                                                                                                    CONFIDENTIAL
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                                                                                                                                              of
                                                                                      Summary                                                                      CoreCivics Alleged Cost Related                                                                                                                                               Misrepresentations
                                                                                                                                                                                                         Quantitative Statements



                                                     Alleged     CostRelated Misrepresentation                                                                                                       Source                                                                                                                                       Support Provided                                                                  CoreCivic




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                                                                                                                                                                   Analyst                       Durable Earnings                   savings from                                                                                     private                  prison




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               Case 3:16-cv-02267
                                                                                                                                                                   Significant                  Growth Potential

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                                         Citing Temple              University        economists                    company                                        Brogdon                     Louis               point   Finger   Hakim                Simon                                                        Erwin                       Blackstone                           Prison Break                                                          Approach                                                           Cost




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                                         statement            that forprofit     prisons save taxpayers                                                            taken                 task            campaign     giving        savings from                                                                                     private                  prison                                                         states          under review


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                                                               corrections      costs                                                                                                            Times Free Press




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                                         Operational Cost Savings                                                                                                                   Americas Leader Partnership




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Document 363-28 Filed 11/20/20
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                                         Operational Cost Savings                                                                                                                   Americas Leader Partnership




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                                         operating cost                                                                                                            Corrections                   First Quarter 2015
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                                         Operational Cost Savings                                                                                                                   Americas Leader Partnership




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                                                                          real estate




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                                         operating cost                                          costs                                                             Corrections                   Second       Quarter 2015                CCAs revenue                                                                      compensated manday                                                                                      quarter      ended         63015
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                                         facilities                                                                                                                Investor
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                                                                                                                                                                                         Presentation                               $7991                                      owned                                                 managed                        facilities
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                                                                                                                                                                                                                                                                                                    BOPs                           average                    daily                                          capita                                          security       classifications
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                                                                                                                                                                                                                                                                                      FY




                                                                                                                                                                                                                                                                                                        2014
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                                                                                                                                                                                                                                                                                                                                    $76




                                                                                                                                                                                                                                    maintenance                                      cost
                                                                                                                                                                                                                                                                                                                                                        $12




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               Page 29 of 38 PageID #:
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                                                                                                                                                                                                                           CONFIDENTIAL
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                                                                                  Summary                                                     CoreCivics Alleged Cost Related                                                                                                                                              Misrepresentations
                                                                                                                                                                               Quantitative Statements



                                                   Alleged     CostRelated Misrepresentation                                                                               Source                                                                                                                                           Support Provided                                 CoreCivic




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                                                                                                  179
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                                                                                                                 relative                                                                                                                                                                            ratio




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                                                                                                                                                     CCA
                                         Operational Cost Savings                                                                                            Americas Leader Partnership




                                                                                                                             BOP
                                                                              real estate




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                                                                                                              costs                                                                                                                                                                                                                                                                                         ended           93015




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                                                   operating cost                                                                              Corrections              Third Quarter 2015                                      CCAs total revenue                                                                        compensated manday                                             quarter




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                                         facilities                                                                                            Investor




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                                                                                                                                                                Presentation




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               Case 3:16-cv-02267
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                                                                                                                                                                                                                                                                                                                                        daily                       capita          across                  security        classifications




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                                                                                                                                                                                                                                                                                                                    $76
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                                         Operational Cost Savings                                                                                            Americas Leader Partnership




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                                                   operating cost                                                                              Corrections              Fourth Quarter 2015                                     CCAs total annual revenue                                                                                 compensated manday                                                quarter




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                                         facilities                                                                                            Investor




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                                         Operational Cost Savings                                                                                            Americas Leader Partnership




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                                                                              real estate




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                                                   operating cost                                             costs                            Corrections              First Quarter 2016                                      CCAs total revenue                                                                        compensated manday                                             quarter            ended           33116
                                                                                                                                                                                                                                                                                                              per
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                                         facilities                                                                                            Investor




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                                               Source                                                                                                                      Forms                                                                                                                    Americas Leader




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Document 363-28 Filed 11/20/20
                                                                                                                                               CCA
                                                                                           Critics                                                                                                                  task              for




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                                                          2016 Brogdon        Louis                             point Finger                               Forprofit    prison operator taken                                                     campaign                             giving               operations                  Times Free Press               5514
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                                                                     CoreCivics                                                                                                                                                                                                                                                               lower than              value                                                          Quarter




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                                                                                  Form                                                        ended                                    revenue
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                                                   According                                                                 quarter                        33115                                              compensated                               manday




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                                                   2015   Investor    Presentation




               Page 30 of 38 PageID #:
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                                                                                                                                                                                                                                 of
                                                                                                                                                  Summary                                                                                                CoreCivics Alleged Cost Related                                                                                                                                                                                                                                                   Misrepresentations
                                                                                                                                                                                                                                                                                                                                 Qualitative Statements



                                                     Cost Concept                                                                                                                                                                                                                                                                Alleged Cost Related                                                                                 Misrepresentation                                                                                                                                                                                                                                                                            Source




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               We
                                                                                                                                                          benefits                                                                                                                                                                                                                                                                                                                                                                                                                               rates                                                      believe




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                                                                 Economies                                                                                                                                                                                     economies                                               scale                                                                                                                                  costs                                                 inmate                                                                                    increase                                                                               Corrections                                                            America




                                                                                    Our
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     per
                                         Competitiveness                                                       industry                                                                     from significant                                                                                                                                          resulting                                               lower operating                                                                                                                            occupancy                                                                                                                                                           Corporation




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                                                                                                                                                                                                                                                                                                            residents                                                                                                                                                                                                                                              initiatives                                             further




                                                                                                                                                                                             in
                                                                                                                                                                                                                                                                                                                                                        in
                                         Scale                                    have been successful                                                                                                                                                              number                                                                                                                  care                                   continue                                                                              number                                                                 intended                                             increase                                                         Forms
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             CCA




                                                                                                                                                  and
                                                                                                                                                                                                                                                                         cost            structure                                      offers                                                                              customers                                                                                                                               incarceration                                                                                                                                              Business




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                                                                                                                                                               revenue                                                 competitive                                                                                                                                prospective                                                                                      compelling




                                                                                                                                                                                                        Our
                                                                                  occupancy                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          20112016




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                                                                                   We
                                         Cost    Control                                                       believe                                                                                                                                                                                               services                                                                                                                    allows                                                                                                                                                        inmate                                                       while                                  Forms                                    20112016
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                                                                                                                                                                outsourcing                                                     prison                         management                                                                                                 private                             operators                                            governments                                                             manage                                      increasing                               populations




                                                                                                                                                                                                                                                                                   and
                                                                                  simultaneously                                                               controlling                                correctional                                          costs                                improving                                         correctional                                            services                                                                                                                                                                                                                                                                              Business            Development




               Case 3:16-cv-02267
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                                                                                   We
                                                                                                                                                        we
                                                                                                               believe                                                                                                                                                                                with                                                                                                                                                                                                                            their correctional                                                          while




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                                         Cost    Control                                                                                                        have been successful                                                                                                                                                                                                                                                                           them                                                                                                                               costs                                                                                                            Forms




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                                                                                  financial                                                                                                                   will         continue                                                                                                                  solutions                                          their correctional                                                                                                 believe                                                                                                                                                                   Business
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                                                                                                                                 impact                                                                                                                                   provide                           unique                                                                                                                                                                                                                                                        longterm growth                            opportunities                                                                                       Development




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                                                                                  business                                         remain                            very                   attractive                                      certain                       states                     consider                                        efficiency                                                  savings                         opportunities                                                                        provide                                   Further                      expect            insufficient




                                                                                                                                                                                                                                                                                                                                                                     and
                                                                                                                                                                                                                                result                                                                                                                                                                                             imbalance                  that                                           benefited                                                                         corrections




                                                                                                                                                                     our
                                                                                                                                                                                                                                                                                                                                                                                            demand




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                                                                                  development                                                                                         partners                                                                                                                                    supply                                                                                                                                                                                                                            private                                          industry




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                                                                                                                                                                            we
                                         Cost    Effectiveness                                                      believe                               that                              offer                    costeffective                                            alternative                                                                                                                                                                                                                  their                 correctional                                   services                   costs while                                             them




                                                                                                                                                                                                                                                                                                                                               our
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                                                                                                                                                                                                                                                                                                                                          and
                                                                                                                                                                                                       obligations                                              their                                                                                   large                               capital                   investments                                                                    prison                       beds                                                                                                                                                               Business




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                                                                                  avoid longterm                                                                pension                                                                                                        employees                                                                                                                                                                                                                                                                                                                                                                                                                                 Development
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                                                                                                                                                              better                                                                                                                                                                                                                                                                                                                                                     essential                                                                   service




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                                         Cost                                                                                                                                         than                                                                                                                       business                                                                         able




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                                                 Efficiency                                                               Does                                                                                             compe ition                                                                                                                                                                                              provide            taxpayers                                                                                             government                                                        equally                      high                                                   private         prisons




                                                                                          CCA
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                                                                                  standards                                                                                                                                                                                                                                                                                                 entities                                      motivated                                                                                        evaluate                                             refine         success                      each
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             day




                                                                                                                                                        quality                                     efficiency                                                  Competitive                                      private sector                                                                                                                                                     move                                 swiftly                                                                                                                                                                     cheaper            Lewiston                          Morning
                                                                                  maintain                                                                                                                                  standards                                          least                  cost




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                                                                                                                                                        highest                       operating                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Tribune           3512




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                                                                                                                                   stateoftheart                                                       facilities                                                                                                                                                                           cost               efficiencies                                                                                                                                                                                facilities                                                                                4Q14             1Q16 Investor




                                                                                                                                                                                                                                            hat
                                                                                  Modern                                                                                                                                                                       improve                   safety                                  security                                                                                                                           CCAs modern stateoftheart                                                                                                                                  improve                      safety




                                                                                                                                 and
                                                                                  security                                                              generate                            cost                efficiencies                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentations

                                         Cost                                                                  believe                              these                                                                   translate                                into                                                                                                                                                                                                                                                                                                                                                                                                                                          Forms
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                                                 Savings                                                                                                                    advantages                                                                                                                                                                  savings                                                government                              agencies                                                                                                                                                                                                                                                                                             20112014
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Document 363-28 Filed 11/20/20
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               Page 31 of 38 PageID #:
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               Case 3:16-cv-02267
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                                                               language         vary slightly                    repeated




              15771
Document 363-28 Filed 11/20/20
               Page 32 of 38 PageID #:
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                                                                          Prison Outsourcing                                                                                                                                                                                  House Prison Management




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               Case 3:16-cv-02267
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                                              Award          Fees                                                                                                                                                                                                                                                  Long Term Maintenance                                                                                         Renovation



                                         Other Costs                                                                                                                                                                                                                                        Operating                               Costs

                                              Contract          Administration21                                                                                                                                                                                                                               Administrative Overhead                                                                                Support              Costs31

                                              Administrative Overhead                                                          Support                                  Costs31                                                                                                                                    Inmate               Service                   Costs51

                                              Expense Reimbursements41                                                                                                                                                                                                                                             Salaries                        Wages
                                              Inmate          Medical          Care                                                                                                                                                                                                                                Fringe           Benefits61


                                                                                                                                                                                                                                                                                                                   Other           Direct                Costs71

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Document 363-28 Filed 11/20/20
                                              Includes                                                                        that                         relevant                                                                      facilities                                                                                                                                                                                                         facilities




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                                                              costs     include                                                                                         office                                               national                                                                        central               office




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                                                                                                                                                                                                                                                                                          and




                                                    such                                   training                                  regional                                                  costs                                       programs                                                                                                costs




                                                                                                                                                                                                law




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                                                                                                                                                                                                                                                                                                                                                                                                                                         contractor                                incurred
                                                                                                                                                                                                                                                                                                                                                               to




                                                                               such                                       inmate                                                                                 enforcement                                                                                                 reimbursed




                                                                                                       as
                                              Certain expenses                                                                                        wages                                                                                         expenses                                                                                                                                private                   prison




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                                              Inmate         expenditures                                     range                   from food                                                 medical                           services                       leisure                                            psychology                      programs
                                                             benefits     include                  retirement fund                                                                                                            insurance                                health                                                                                     benefit                                                                                   other
                                                                                                                                                                                                                                                           and
                                                                                                                                                                                                                                                                                                                                                                                                                                            and




                                              Fringe                                                                                                                    contributions                                                                                                                    benefits                   Medicare                                                  contributions                                                                       miscellaneous




                                         56
                                              benefits

                                                       direct        costs     include
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                                              Other                                                                                                        such
                                                                                                                                                                             as




                                                                                                                    expenses                                                                   supplies                         utilities       equipment                                          travel                               transportation




                                         7




               Page 33 of 38 PageID #:
                                                                                                                                                                                                                                                    CONFIDENTIAL
                                                                                               Exhibit 4

                                    Bureau                 of Prisons Construction                                              Costs by Facility

                                                                                              19982015

                                     Construction                                                                                                                     Per diem Construction

         Institution                    Completed           Capacity         Security         Level      Location       Total   CostEll      Cost per Bed               Cost Amortization21

FMC Devens                                 1998                  986           Administrative               MA          $95063301                  $96413                         $880
FCI Edgefield                              1998              1664                  Medium                    SC         $82343373                  $49485                         $452
FCI   Beaumont                             1998              1664                  Medium                    TX         $248181309                $149147                         $1362
MDC    Brooklyn                            1999              1229              Administrative                NY         $202602510                $164852                         $1505
FDC Houston                                1999                  670           Administrative                TX          $49183078                 $73408                         $670
FCI1     Victorville                       2000              1152                  Medium                    CA         $112488892                 $97647                         $892
USP Pollock                                2000              1216                      High                  LA         $114527642                 $94184                         $860
FDC Philadelphia                           2000                  757           Administrative                PA         $95522252                 $126185                         $1152
USP Atwater                                2001              1088                      High                  CA         $118367112                $108793                         $994
USP1 Coleman                               2001                  960                   High                  FL         $92573663                  $96431                         $881
FDC Honolulu                               2001                  670           Administrative                HI         $86698015                 $129400                         $1182
USP Lee                                    2001              1088                      High                  VA         $127761416                $117428                         $1072
FCI Petersburg                             2001              1152                  Medium                    VA         $91883940                  $79760                         $728
USP Victorville                            2002                  960                   High                  CA         $121292183                $126346                         $1154
FCI Gilmer                                 2002              1280                  Medium                   WV          $117524927                 $91816                         $839
USP Big Sandy SCP                          2003              1088                      High                  KY         $164474540                $151171                         $1381

FCI Forrest      City                      2004              1152                  Medium                   AR          $105106908                 $91239                         $833
FCI2     Victorville                       2004              1408                  Medium                    CA         $111976577                 $79529                         $726
USP2 Coleman                               2004                  960                   High                  FL         $109855290                $114433                         $1045
USP McCreary                               2004              1088                      High                  KY         $139859233                $128547                         $1174
FCI Bennettsville                          2004              1280                  Medium                    SC         $110425098                 $86270                         $788
FCI Williamsburg                           2004              1280                  Medium                    SC         $115170774                 $89977                         $822
FCI Herlong                                2005              1280                  Medium                    CA         $136648483                $106757                         $975
USP Terre Haute                            2005                  960                   High                  IN         $136998116                $142706                         $1303
FCI Yazoo      City                        2005              1152                  Medium                   MS          $107192625                 $93049                         $850
USP Canaan                                 2005              1088                      High                  PA         $149671194                $137565                         $1256
USP HazeIton                               2005              1216                      High                 VVV         $149728513                $123132                         $1124
USP Tucson                                 2006              1088                      High                  AZ         $133589707                $122785                         $1121

FCI2     Butner                            2006              1152                  Medium                    NY         $122130461                $106016                         $968
FCI HazeIton                               2006                  502                   Low                  WV          $79493152                 $158353                         $1446
FCI Pollock                                2007              1152                  Medium                    LA         $120011291                $104176                         $951
FCI Berlin                                 2008              1280                  Medium                    NH         $274200000                $214219                         $1956
FCI   McDowell                             2010              1280                  Medium                   WV          $253577000                $198107                         $1809
FCI   Mendota                              2012              1280                  Medium                    CA         $269231000                $210337                         $1921

FCI HazeIton                               2013              1152                  Medium                   WV          $212456568                $184424                         $1684
FCI Aliceville                             2014              1408                      Low                   AL         $225440554                $160114                         $1462
USP Yazoo                                  2014                  960                   High                 MS          $203007882                $211467                         $1931



Per   Diem Construction                 Cost Amortization          All   Security        Levels

Historical    Average                                                                                                                                                             $1139
10 Year Average              20062015                                                                                                                                             $1674
5 Year    Average           20112015                                                                                                                                              $1750


 Source       Figure        8 Government          Replacement          Costs     of Prisons       High      SunTrust    Robinson     Humphrey 83018               Federal     Bureau     of

              Prisons        Program      Statement Accounting            for     Real   Property Depreciation           and    BF Projects 22415

 1    Total   Cost      reflects    the   reported   cost   at   the time      of completion          of construction   and has     not   been   adjusted   for   inflation   or other

      increases        in   cost   overtime       such as   increases       in   the   cost   of construction     materials and labor

 2    Amortization           reflects   the daily   cost   per   bed over        a thirtyyear     depreciation      period   on a   straightline    basis per the      BOPs guidelines        on
                            of buildings
      depreciation




       Case 3:16-cv-02267                                   Document 363-28     Filed 11/20/20
                                                                        CONFIDENTIAL                                                             Page 34 of 38 PageID #:
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                                                                                                                                                                    Daily Operating                                                              Costs                                                        Capitam2




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                                         $105                                                                                                                                                                                                                              CoreCivic




               Case 3:16-cv-02267
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                                                                                                     Low
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                                                                                                                                                                           Costs                           Real Estate




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                                         $100                                                                     Security               with Support                                                                           Adjustment                                                                                    Security                       with Support           Costs




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                                                                                                     Low




                                           $95
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                                                                                       BOP
                                                                                                                                                                                                      or
                                                                                                                  Security               without                    Support                                 Real Estate Adjustment




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                                         Source                Federal




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                                                                                       Prison System                                      Capita  20092017 CORECIVIC1353037 CORECIVIC1353047 CORECIVIC1353057 CORECIVIC1353067
                                                               CORECIVIC1353077                                                   CORECIVIC1353097 CORECIVIC1353107 CORECIVIC1353117  CORECIVIC1353137 CORECIVIC1353157
                                                               CORECIVIC1353147                                                   CORECIVIC1353167                                            CORECIVIC1353187                                         CORECIVIC1353197                                           CORECIVIC1353217 CORECIVIC1353207




Document 363-28 Filed 11/20/20
                                                               CORECIVIC1353237                                                   CORECIVIC1353247                                            CORECIVIC1353257                                         CORECIVIC1353267                                           CORECIVIC1353287 CORECIVIC1353297
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                                                                                                                                                                                                                                                                                                                                                                                            CCA




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                                                               CORECIVIC 1353307                                                  CORECIVIC1353317                                            CoreCivic Quarterly Facility Financials                                                                           20112016         Ohioxlsx
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                                                               Partnership                     Corrections                              Investor                Presentations                  20142016 Review             Federal Bureau                                                                               Prisons Monitoring                                       Contract   Prisons United States
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                                                                                                           Justice                                                                           General Evaluation                                                               Division                                                                             2016
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                                                               Department                                                                                            Inspector                                                                     Inspections                                                1606 August

                                         Note
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                                                 Real Estate                     Adjustment                                               CoreCivics estimated                                               estate      cost                   prisoner                                            $1200                                                    CoreCivic           Third    Quarter 2014                Investor
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               Page 35 of 38 PageID #:
                                                                                                                                                                                                                                         CONFIDENTIAL
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               Case 3:16-cv-02267
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                                                                                               $8500                                                                  $6965                                                       $6521                                                                                $444




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                                                                                               $8500                                                                  $7055                                                       $6672                                                                                $383




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                                                                                               $8800                                                                                                                              $7100                                                                                $384
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                                                                                               $8800                                                                  $7991                                                       $6519                                                                          $1472                                                                                                                                                                         1673




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                                                      Q3
                                              2015                                             $8800                                                                  $7222                                                       $6256                                                                                $966                                                                                                                                                                    1098



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                                                      Q4
                                              2015                                             $8800                                                                  $7276                                                       $6517                                                                                $759


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                                                                                                                                                                                                                                                                                                                                                                                                                                                                    235
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                                                      Q1
                                              2016                                             $8800                                                                  $7530                                                       $6735                                                                                $795
                                                                                                                                                                                                                                                                                                                                                                                                                                   NE




                                         Source                    Americas              Leader                                                                            Investor               Presentations                   20132016                                  CoreCivic                                                                Financials                     20112016                              1901               Ohioxlsx



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                                                                                                             Partnership Corrections                                                                                                                                                         Quarterly                          Facility




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                                                                         Cost                  calculated                                                                                    costs                                                                                       cost                                          estate                                                              disclosed                         CoreCivics




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                                               Reflects          CoreCivics




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                                                                                        reported average                                                               manday                         percent         savings                           quarterly                                      presentations
                                               Recalculated                                 based     CoreCivics                                                            data                            five         contract                  facilities                                                                                                                             Cibola                                 Correctional




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                                                                       figures                                                                                revenue                                                                                                             only       Adams County Correctional Center                                                                                  County                                      Center




                                         23
                                               Detention          Center                                                                                               Northeast                 Ohio




                                                                                                                                                               and
                                                                               McRae                   Correctional Facility                                                                                 Correctional Facility




                                                                                                                                                                                                                                                                    the
                                                                 revenue                                     includes                 contract                 award       fees earned




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                                              Average                                    manday                                                                                                                    CoreCivic during                                             period




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Document 363-28 Filed 11/20/20
               Page 36 of 38 PageID #:
                                                                                                                                                                                                                                                                                    CONFIDENTIAL
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                                                                                                                                                 Illustration




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               Case 3:16-cv-02267
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                                                               Daily with Support                                                              Real           Estate            Costs $89884




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                                                               Daily           $6918




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Document 363-28 Filed 11/20/20
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                                                                                                                                                                                                                                                                 Mod
                                                 Source                Adams CORECIVIC0000001pdf Adams         CORECIVIC000042022pdf Cibola CORECIVIC0000692pdf Eden
                                                                       CORECIVIC0001329pdf McRae CORECIVIC0002307pdf McRae 2011 CORECIVIC0003082pdf NEOCC CORECIVIC0003791pdf




                                                                                                                                          97



                                                                                                                       Mod
                                                                                                                                                                                                                                                                                                                                        Per
                                                                                                                                     2014



                                                                                                                                                                                                                                                                                                                    BOP
                                                                                                                                                                                                                                                                                                                                                                                               FY




                                                                       NEOCC         CORECIVIC1473149150nativepdf       Capita Costs
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                                                                                                                                                                                                                                                                                          BOPs                                                           2013
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                                                                                                                                                                                                              presented                                                                                                                                                                       2014                                                                                                   using             pricing                   formulas present




                                                 1
                                                                                                                                                                                                                                                                                                                                              Q4




                                                                                                                purposes revenues
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                                                                                   contract                                                                                                                                                                                                                        both                                                                                         Price                                                                          Fixed        Incremental                         Unit    Price




                                                                                                                                                               BOP
                                                      facilitys
                                                                                                                                                                                                                                                                                                                                                                                                                                           MOP




                                                                                                                                                                                According                                                       base contracts                                                                                Monthly                            Operating                                                                                                                                                                            FIUP were




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                                                               increase                                                                                                                                                                                                                                                                                                                                                                                                                                    Contracts                                                              have




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                                                      Revenues                                                                                                                                                                                                                                                                                                                                                                 FIUP                                                                        number                                                                 above




                                                                                                     are
                                                                                                                equal                                                                                                     applies                                                                                                             plus                           product                                                                                                                                                     beds occupied



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                                                      occupancy                                        minimum                                                                                                                                                                            Mandays                                   equal                                                                                                                                                                                                      days     during                         period
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                                                                                                                                      facilities                                                                                                                                               federal




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                                                                                   CoreCivics                                                                                                                                                                                                                                                            Contracted                                                                                                                                                                                      number
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                                                      Some                                                                                                                 house inmates from multiple                                                                                                              agencies                                                                  occupancy                                                                                        percentage




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                                                                                                                                                                     the
                                                                                                                                                                                                                                                                                    the




                                                      contract                                                                                                                                         which                   differs                from                                       facilities                     total




                                                                                                                                                                                BOP
                                                                                   beds occupied                                                                                                                                                                                                                                              capacity




                                                                                                                                                        by
                                                      Real estate                                          costs              reflect                       CoreCivics estimated                                                           real             estate                             cost                                                                                                                                                                                                                                              Investor
                                                                                                                                                                                                                                                                                                                                                                                   of




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Third Quarter 2014                                                     Presentation
                                                                                                                                                                                                                                                                                                                                                                                                                                                               CCA




                                                                                                                                                                                                                                                                                                                                                                                             $1200
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                                                      November                                       2014




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               Page 37 of 38 PageID #:
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                                                                                                                                                                                                                                                                                                                                                                    facilities
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                                                                                                                                                                                                                                                                                in




                                                                2014                                                                                                                                                                                                                                  medium




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                                                                                                                                                                                                                                                                                               BOP
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                                                        FY
                                                                                                                                                                                                                                                                                                                                                                                                                                         BOPs




                                                 5
                                                                                                                Occupancy                                     Level represents                                                 occupancy                                                                                                  security                                                                                                                                           security       facility          occupancy




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                                                                                                          Daily                Operating Cost                                                                                                 Capita                                                                    Occupancy




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                                                                                                                                                                                                                    20092015




                                                                                                                                                                                                  FY
                                         Daily   Operating                                                                                                                                                                                                                                                                                                                                                                     Occupancy
                                         Cost                                                                                                                                                                                                                                                                                                                                                                                         Rate




               Case 3:16-cv-02267
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                                         $110
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              15777
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                                                                                                                                                                                                                             Medium                                                                                                   Costs
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                                                                                                                                                                                                                                                              Security              without Support                                                                 Real Estate Adjustment




                                                                                                                                                                                   IMP
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                                                                                                                                                                                                         BOP
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                                          $50
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                                                                                                                                                                                   IMP
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Document 363-28 Filed 11/20/20
                                                                                                                                                                                                                             Medium                                                                                          Costs                            Real Estate




                                                                                                                                                                                                         BOP
                                                                                                                                                                                                                                                              Security          with                   Support                                                                           Adjustment




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                                                                    BOP
                                                                                                                          FY
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                                                                                        Capita Costs     20092015             Federal Prison System Congressional                                                                                                                                           Budget            Buildings                                                                    20112017




                                                                    CCA
                                                                                      Americas Leader Partnership Corrections Investor Presentations 20142016


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                                                                                                                                                                        medium




                                                        BOP
                                                                                                                                                          BOP
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                                                              Occupancy                          Rate represents                  occupancy                                                            security                                                                            BOPs                              security                 facility         occupancy
                                                                                                                 reflects                                                   real
                                                                                                                                                                                                                                                                                                       of




                                                                                                                               CoreCivics estimated                                              estate             cost                                                                                                                                            CoreCivic       Third                  Quarter 2014
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                                                                                                                                                                                                                                                                                                            $1200
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                                                       Real Estate Adjustment                                                                                                                                                                 prisoner
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                                                       Investor                   Presentation               November             2014



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                                                                                         rates   reflect                                                              rates
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                                                                                                                                                                                                                                                        institutions                   disclosed                                                                                                Facilities
                                                                                                                                                                                                                                                                                                                        in




                                                       Occupancy                                                         reported        overcrowding                                             medium                   security                                                                                                         BOPs Buildings




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                                                       congressional                         budget        submission Overcrowding                                                                                                                specific                   date                                                                                   they                                   overcrowding
                                                       rate                                                fiscal                                                                                 Facilities
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                                                                                                                                                                                                                                                                                                       submission                                                                               disclose



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                                                                                         respective             year                       BOPs Buildings                                                                     congressional                              budget




               Page 38 of 38 PageID #:
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                                                       overcrowding                                        medium security                         institutions                                                            reports                             average                overcrowding                                  range                                      security




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                                                                                                                                                                                                                                                                                                            medium
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                                                       2015                           midpoint                         provided   range                                                                                           overcrowding                                                                                security




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